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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

MICHAEL L. LANSDALE,

Plaintiff, Civil No. 16-4106 (JRT/BRT)
Vv. JUROR’S QUESTION
FOR WITNESS
UPS SUPPLY CHAIN SOLUTIONS,
INC.,
Defendant.
This question is for Lau 5 ol: QR / ¢

(WITNESS’S NAME)

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